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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                         PENSACOLA DIVISION

IN RE: 3M COMBAT ARMS                         Case No. 3:19md2885
EARPLUG PRODUCTS
LIABILITY LITIGATION

This Document Relates to All Cases            Judge M. Casey Rodgers
                                              Magistrate Judge Hope T. Cannon


                                      ORDER

      The Court previously stayed certain proceedings in this MDL pending

resolution of any interlocutory appeal of its Order dated December 22, 2022. See

ECF Nos. 3568 & 3610. This Order clarifies the parameters of the stay, which is

intended to suspend activity only with respect to matters potentially impacted by the

outcome of the appeal, as follows:

      1.     The Wave process remains stayed consistent with the Court’s Order

dated October 27, 2022, ECF No. 3568, with the following exceptions. First, Wave

discovery is reopened for the sole purpose of allowing Plaintiffs to continue pursuing

the Touhy requests related to Dr. William Murphy’s REAT testing of the CAEv2.

See ECF No. 3558 at 37-39. Plaintiffs must provide biweekly updates on the status

of the Touhy requests to the Court beginning on January 12, 2023. Second, the

parties must comply with existing or subsequent orders entered in individual Wave

cases and continue to resolve outstanding administrative issues. Third, the Court
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will rule on the Daubert and summary judgment motions currently pending in Wave

1 cases.

      2.     The transition process remains stayed. See ECF No. 3568 at 4.

      3.     Individual cases, whether or not currently included in a Wave, are

stayed for administrative reporting purposes. However, the Touhy process for these

cases is not stayed; therefore, Touhy requests for individual plaintiffs’ records must

continue. Additionally, the parties must continue to comply with orders entered in

individual cases.

      4.     The DD214 and census form requirements are not subject to the stay.

Plaintiffs must fulfill their DD214 and census form obligations in accordance with

the previously established deadlines. See, e.g., ECF Nos. 3479, 2911, 1848.

      5.     The parties must continue to comply with orders entered on the MDL

docket, including the Order regarding the deposition transcripts for Hamery and

Dancer dated December 28, 2022. See ECF No. 3612.

      SO ORDERED, on this 30th day of December, 2022.


                                 M. Casey Rodgers
                                 M. CASEY RODGERS
                                 UNITED STATES DISTRICT JUDGE
